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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 HEATHER MCCLAINE,                         )
                                           )
               Plaintiff,                  )
                                           )
 vs.                                       )       Case No. 23-cv-1168-DWD
                                           )
 DX ENTERPRISES, INC.,                     )
                                           )
               Defendant.                  )

                            PRELIMINARY APPROVAL ORDER

 DUGAN, District Judge:

        This matter having come before the Court on Plaintiff’s Unopposed Motion for

 Preliminary Approval of Class Action Settlement (“the Motion”) (Doc. 56), the Court

 having reviewed and considered the Motion, the Class Action Settlement Agreement

 (“Settlement” or “Settlement Agreement”) (Doc. 56-1), including all attachments to the

 Settlement Agreement, and the Court being fully advised in the premises, IT IS HEREBY

 ORDERED:

        1.     Capitalized terms used in this Order are defined in the Parties’ Settlement

 Agreement.

        2.     The Settlement is preliminarily approved as fair, reasonable, and adequate.

 The Settlement Agreement was negotiated at arm’s-length between counsel for the

 Parties who are experienced in class action litigation.

        3.     For settlement purposes only, the Court finds that the requirements for a

 class action under Federal Rule of Civil Procedure 23 are preliminarily satisfied,


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 including numerosity, commonality and predominance, adequacy, and appropriateness

 of class treatment.

        4.     For settlement purposes only, the Court preliminarily certifies the

 following Settlement Class and Subclass:

        Settlement Class:

        All persons who had their biometrics collected and/or biometric
        information and/or data collected, captured, received converted, stored,
        obtained, shared, taken, used, disclosed or disseminated by Defendant in
        Illinois between February 27, 2018 to the date of preliminary approval
        without first executing a written release. Excluded from the Settlement
        Class are: (1) any Judge or Magistrate presiding over this Action and
        members of their families; (2) the Defendant, Defendant’s subsidiaries,
        parent companies, successors, predecessors, and any entity in which the
        Defendant or its parents have a controlling interest; (3) persons who
        properly execute and file a timely request for exclusion from the Settlement
        Class; and (4) the legal representatives, successors or assigns of any such
        excluded person.

 Defendant estimates there are 586 Settlement Class Members.

        Settlement Subclass:

        The Settlement Subclass will be defined to consist of only those members of
        the Settlement Class who were hired by DX Enterprises, Inc. more than one
        time during the period of February 27, 2018 to the date of preliminary
        approval and who had their biometrics collected and/or biometric
        information and/or data collected, captured, received, converted, stored,
        obtained, shared, taken, used, disclosed, or disseminated by Defendant in
        Illinois without first executing a written release.

 Defendant estimates that there are 86 Subclass Members.

        5.     The Parties agree that certification of the Settlement Class is a conditional

 certification for settlement purposes only, and that Defendant retains its right to object to




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 certification of this Action, or any other class action, under any applicable rule, statute,

 law, or provision.

        6.     For settlement purposes only, the Court appoints Heather McClaine as the

 Settlement Class Representative.

        7.     For settlement purposes only, the Court appoints the following attorney as

 Settlement Class Counsel:

        The Garfinkel Group, LLC
        Max P. Barack
        max@garfinkelgroup.com
        701 N. Milwaukee Avenue
        The CIVITAS
        Chicago, Illinois 60642
        Telephone: (312) 736-7991

        8.     The Court approves the Notice of Class Action Settlement (“Notice”)

 attached as Exhibit 1 to the Settlement Agreement and orders distribution of the Notice

 to Settlement Class Members as described in the Settlement Agreement. The Notice and

 the methods of distribution satisfy due process, the requirements of Federal Rule of Civil

 Procedure 23, and constitute the best notice practicable under the circumstances.

        9.     The Court appoints Simpluris as the Settlement Administrator to perform

 all duties described in the Settlement Agreement or ordered by this Court.

        10.    Any Settlement Class Member may request to be excluded from the

 Settlement by submitting a written request for exclusion to the Settlement Administrator

 as described in the Notice within 30 days from the date of initial Notice distribution.




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        11.    Any Settlement Class Member who excludes himself or herself from the

 Settlement will not be entitled to any recovery under the Settlement and will not be bound

 by the Settlement or have any right to object, appeal, or comment on it.

        12.    Any Settlement Class Member who does not request to be excluded from

 the Settlement may object to the Settlement by submitting a written statement to the

 Settlement Administrator as described in the Notice within 30 days from the date of initial

 Notice distribution.

        13.    Settlement Class Counsel shall file a motion for final approval of the

 settlement and for attorneys’ fees, litigation costs, settlement administration costs, and

 the Class Representative’s Incentive Award (“Fee Petition”) at least seven days prior to

 the Final Approval Hearing.

        14.    The Court schedules a Final Approval Hearing for April 15, 2025, at 10:00

 a.m., which will be conducted in person, at the United States District Court for the

 Southern District of Illinois, East St. Louis, Illinois, to consider, among other things, (1)

 whether to finally approve the Settlement; (2) whether to approve Settlement Class

 Counsel’s request for attorney fees and litigation costs; (3) whether to approve the Class

 Representative’s request for an Incentive Award; and (4) whether to approve the

 Settlement Administrator’s costs.

        15.    The Final Approval Hearing may be postponed, adjourned, transferred, or

 continued by order of the Court without further notice to Settlement Class Members. At

 or following the Final Approval Hearing, the Court may enter a judgment approving the



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 Settlement and entering a Final Approval Order in accordance with the Settlement that

 adjudicates the rights of all Settlement Class Members.

        16.      For clarity, the deadlines set forth above and in the Settlement Agreement

 are anticipated to be as follows:

              A. Class List to Administrator: January 21, 2025;

              B. Notice distributed by: February 4, 2025;

              C. Exclusion deadline: March 6, 2025;

              D. Objection deadline: March 6, 2025;

              E. Fee Petition filing: April 8, 2025;

              F. Final Approval Motion filing: April 8, 2025; and

              G. Final Approval Hearing: April 15, 2025, at 10:00 a.m.

        SO ORDERED.

        Dated: January 7, 2025




                                              _____________________________
                                              DAVID W. DUGAN
                                              United States District Judge




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